Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 1 of 44 PageID #: 1966




                                                     June 11, 2021
Via Email and ECF
The Honorable Pamela K. Chen
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201
                      Re: United States v. Hunt, 21 CR 86 PKC
Your Honor:
       We write in reply to the Government’s Opposition papers, ECF No. 104 (“Opp.”), to Mr.
Hunt’s Motion for Judgment of Acquittal pursuant to Federal Rule of Criminal Procedure Rule
29(a)–(c). ECF. No. 97 (“Mot.”).
Introduction
        The Government’s opposition misunderstands the standard of review for this Rule 29
motion. It is true that the Court must “view the evidence in the light most favorable to the
prosecution,” Opp. at 11-12, but this is only half of the equation. Here, the elements of the crime
in dispute -- “true threat” and intent -- are inference-based elements, and binding precedent
requires that inferences be reasonable based on fact, reason, and logic, and that they be
permissible under the law. The inferences the Government seeks to draw do not so qualify and
must be rejected as a matter of law. Absent these inferences, the Government can point to no
evidence – beyond the Bitchute video itself – that provides sufficient context to make out a “true
threat” or the criminal mens rea from which a reasonable juror could infer proof beyond a
reasonable doubt.
Standard for Analyzing Rule 29(a) and (c)
       Our Motion for Judgment of Acquittal is made under both Rule 29(a) or 29(c). If the
motion must be granted under Rule 29(c), where the evidence presented during the defense case
may be considered, it must be granted, a fortiori, under Rule 29(a), where the defense case must
be ignored. See Rule 29(b). The complete trial record, including the defense case, should be
considered since the Defendant put on a case.


                                                    1
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 2 of 44 PageID #: 1967




Analyzing Inferences in the Second Circuit: United States v. Pauling, 924 F.3d 649, 656 (2d
Cir. 2019): Only Reasonable, Permissible and Logical Inferences Count
         “[W]here a fact to be proved is also an element of the offense . . . it is not enough that
the inferences in the government's favor are permissible.” United States v. Pauling, 924 F.3d
649, 656–57 (2d Cir. 2019). Inferences must also be sufficiently supported to permit a rational
juror to find that the element, like all elements, is established beyond a reasonable doubt.” Id.;
United States v. Martinez, 54 F.3d 1040, 1043 (2d Cir. 1995); see also Sand et al., supra, § 6.01
(“[W]hether based upon direct or circumstantial evidence, or upon logical, reasonable inferences
drawn from such evidence, [the jury] must be satisfied of the guilt of the defendant beyond a
reasonable doubt before [it] may convict.”). “[I]t would not satisfy the Constitution to have a
jury determine that the defendant is probably guilty.” United States v. Lorenzo, 534 F.3d 153,
159 (2d Cir. 2008) (internal quotation marks and alterations omitted).
        Thus, courts “may not credit inferences within the realm of possibility when those
inferences are unreasonable.” United States v. Quattrone, 441 F.3d 153, 169 (2d Cir. 2006). No
deference is owed to “impermissible speculation.” United States v. D'Amato, 39 F.3d 1249,
1256 (2d Cir. 1994). Rule 29 only has teeth if courts “take a hard look at the record and [] reject
those evidentiary interpretations and illations that are unreasonable, insupportable, or overly
speculative.” United States v. Blasini-Lluberas, 169 F.3d 57, 62 (1st Cir. 1999) (internal
quotation marks omitted) (quoting United States v. Woodward, 149 F.3d 46, 56 (1st Cir. 1998)).
Isolation of facts from other relevant facts that upset the proffered inference (“cherry-picking”) is
not permitted. as the Court is obliged to “consider the evidence presented at trial in its totality,
not in isolation.’” United States v. Kapelioujnyj, 547 F.3d 149, 154 (2d Cir. 2008) (emphasis
added) (quoting United States v. Zhou, 428 F.3d 361, 369-70 (2d Cir. 2005).
        The proper analysis in this inference-driven case is set forth in United States v. Pauling,
924 F.3d 649, 656 (2d Cir. 2019). The Pauling case began as a trial in the SDNY, where Judge
Oetken granted a Rule 29 motion and conditional new trial following a jury verdict convicting
the defendant of conspiracy to distribute and possess with intent to distribute at least 100 grams
of heroin. United States v. Pauling, 256 F.Supp.3d 329 (SDNY 2017) (Oetken, J.). There was a
disputed issue of fact about whether the drug weight reached the level required for the
conviction, and the government argued that the weight could be inferred from coded
conversations between established co-conspirators. But Judge Oetken found that the
government’s spin on the phone conversations did not lead to a reasonable and permissible
inference about the actual weight of drugs.
       The ruling was appealed, and the Second Circuit offered the following useful language
guiding the careful balancing of permissible inferences:
       An “inference is not a suspicion or a guess. It is a reasoned, logical decision to
       conclude that a disputed fact exists on the basis of another fact that is known to
       exist.” Siewe v. Gonzales, 480 F.3d 160, 168 (2d Cir. 2007) (alterations omitted)
       (quoting Bickerstaff v. Vassar Coll., 196 F.3d 435, 448 (2d Cir. 1999)). At times it

                                                     2
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 3 of 44 PageID #: 1968




       may be difficult to distinguish between inference and speculation, as some
       speculation may indeed be reasonable. Reasonable speculation occurs when the
       finder of fact concludes that a disputed fact exists that is within the realm of
       possibility, but the conclusion reached is nevertheless unreasonable because it is
       not logically based on another fact known to exist. See Langston v. Smith, 630 F.3d
       310, 314, 319 (2d Cir. 2011) (noting distinction between “reasonable speculation”
       and “sufficient evidence”); Leonard B. Sand et al., Modern *657 Federal Jury
       Instructions § 6.01 (2011) (“The process of drawing inferences from facts in
       evidence is not a matter of guesswork or speculation. An inference is a deduction
       or conclusion which ... the jury [is] permitted to draw ... from facts which have been
       established by either direct or circumstantial evidence.”); see also O'Laughlin v.
       O'Brien, 568 F.3d 287, 301-02 (1st Cir. 2009); Newman v. Metrish, 543 F.3d 793,
       796-97 (6th Cir. 2008). Indeed, we “may not credit inferences within the realm of
       possibility when those inferences are unreasonable.” United States v. Quattrone,
       441 F.3d 153, 169 (2d Cir. 2006).
Pauling, 924 F.3d
        The key point here is that the line between permissible inference and impermissible
speculation “is drawn by the laws of logic,” and not “idiosyncrasies.” Pauling, 924 F.3d at 657
(citations omitted). Such speculative and impermissible considerations as political judgment and
ideological moral outrage cannot be “allowed to do duty for probative facts, after making due
allowance for all reasonably possible inferences favoring the party whose case is attacked.”
Galloway v. United States, 319 U.S. 372, 395, 63 S.Ct. 1077, 87 L.Ed. 1458 (1943).
       To permit ideological idiosyncrasies to “do the duty of probative facts” invites the
hazards of confirmation bias.
       The Role of Confirmation Bias

        In Pauling, Judge Oetken gently reminded the government of the hazards of confirmation
bias. He pointed out, for example, that the government had offered a chart summarizing the
evidence but omitted a detail, that, while arguably irrelevant to their analysis, might have offered
a competing inference. This implied, wrote Judge Oetken, that the Government “had trouble
reconciling its desired inference with the only evidence in the record of a previous sale.” United
States v. Pauling, 256 F. Supp. 3d 329, 337 (S.D.N.Y. 2017), aff'd and remanded, 924 F.3d 649
(2d Cir. 2019); see also U.S. v. Cook, 472 F.Supp.3d 326 (N.D. Miss. 2020) (N.D. Miss. 2020)
(“Interestingly, when you compare the “posts” the government presented to the grand jury in the
indictment, to the full posts reproduced above, it appears that the government “cherry picked”
certain statements and re-arranged them in a different sequence and context to give the posts a
more ominous effect.”)




                                                     3
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 4 of 44 PageID #: 1969




         Desired inferences are the very definition of confirmation bias, which is legally defined
as the “the well-documented tendency, once one has made up one's mind, to search harder for
evidence that confirms rather than contradicts one's initial judgment.” See ,e.g., Goswami v.
DePaul Univ., 8 F. Supp. 3d 1004, 1018 (N.D. Ill. 2014) (quoting Richard Posner, How Judges
Think, 111 (2008); see also Raymond S. Nickerson, Confirmation Bias: A Ubiquitous
Phenomenon in Many Guises, 2 Review of General Psychology 175 (1998). Decades of
behavioral research confirm this. “Once an individual or group has made a decision to take a
particular course of action, it becomes harder and harder to change course, even in the face of
powerful conflicting evidence and reasons.” Carmody v. Bd. of Trustees of Univ. of Illinois, 747
F.3d 470, 475 (7th Cir. 2014); Daniel Kahneman, Thinking Fast and Slow 80–85, 245–54 (2011)
(describing confirmation bias, biased assimilation, and sunk-cost effects on decision-making);
Geir Kirkeben, Erik Vasaasen & Karl Halvor Teigen, Revisions and Regret: The Cost of
Changing Your Mind, 26 J. Behavioral Decision Making 1, 1 (Jan.2013) (summarizing large
body of research that demonstrates “people's reluctance to change their minds”); Craig A.
Anderson, Belief Perseverance, in Encyclopedia of Social Psychology 109, 109–10 (Roy F.
Baumeister & Kathleen D. Vohs eds.2007).
       There were many examples of this phenomena in Mr. Hunt’s trial. So much so that it
began to seem at times that the Government believed itself to be prosecuting Dylann Roof. It
was a disservice to the jury and the public to overplay Mr. Hunt’s dangerousness – both as a
matter of constitutional law and common sense.
       Competing Inferences -- How to Handle a Tie
        A second way in which the Government’s Opposition misunderstands the standard of
review is with respect to how the Court must resolve a battle among competing inferences. In
the event of a tie, the Government would award the win to itself. Opp. at 12. But in a criminal
case, “the government must do more than introduce evidence ‘at least as consistent with
innocence as with guilt.’” D'Amato, 39 F.3d at 1256 (quoting United States v. Mulheren, 938
F.2d 364, 372 (2d Cir. 1991)). In United States v. Coplan, 703 F.3d 46, 69 (2d Cir. 2012), a case
not cited by the Government, the stated rule is the opposite of the Government’s “tie goes to us”
formulation: “If the evidence viewed in the light most favorable to the prosecution gives equal or
nearly equal circumstantial support to a theory of guilt and a theory of innocence, then a
reasonable jury must necessarily entertain a reasonable doubt.” Id.
        Thus, the binding authority on this point is that “a district court must grant a defendant’s
Rule 29 motion where the evidence is viewed in the light most favorable to the government,
remains, at best, in equipoise.” Id. (quoting Caplan, 703 F.3d at 69); see also United States v.
Hassan, 578 F.3d 108, 122 (2d Cir. 2008) (“[I]f the evidence viewed in the light most favorable
to the prosecution gives equal or nearly equal circumstantial support to a theory of guilt and a
theory of innocence, then a reasonable jury must necessarily entertain a reasonable doubt.”)
(internal quotation marks and citation omitted). In other words, a tie goes to the defense.



                                                      4
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 5 of 44 PageID #: 1970




         Another case that offers guiding analysis is the “Cannibal Cop” case, United States v.
Valle, 301 FRD 53, 80 (SDNY 2014); aff’d in part, rev’d in part, 807 F.3d 508 (2d Cir. 2015).
There, both the district and appellate courts applied the rule of equipoise to overturn a jury
verdict and declare defendant Valle legally innocent. Mr. Valle had been charged with a crime
that was committed using online words, just as in Mr. Hunt’s case. Like Mr. Hunt’s Bitchute
video, Mr. Valle’s words, taken literally, easily made out the crime charged, which was
conspiracy to kidnap, in furtherance of which Mr. Valle had engaged in online exchanges with
anonymous co-conspirators planning to torture, rape, kidnap and murder women that he knew
and even stalked, and whose identities and pictures he offered up to his co-conspirators. Yet in
reality Mr. Valle, like Mr. Hunt, wrote his online words from his home and the terrible crimes
threatened never actually happened.
        The Government made the same argument in Valle that it makes here: that there was no
legal requirement of proof that “an actual kidnapping took place,” that the defendant actually met
any of his anonymous online conspirators “in person, spoke over the telephone,” or shared
information about the victims. Valle, 301 FRD at 61. This was certainly true, but misapplied the
law of competing inferences. Even though the words spoken literally sounded like conspiracy to
murder and kidnap women, it was the inferences that did the work needed to decide whether the
defendant’s words were criminally cognizable.
       In Valle, the inferential question posed was whether the literal plan to kidnap was more
consistent with fantasy or with criminal agreement. Because the Government did not produce
enough evidence to win that logical battle of inferences, the tie went to Mr. Valle, and the
Second Circuit upheld the directed verdict. Id. at 508 (2d Cir. 2015). With the evidence against
him in equipoise, the district court declared Mr. Valle legally innocent.
       But where “a fact to be proved is also an element of the offense,” which was drug
quantity in Pauling, “it is not enough that the inferences in the government's favor are
permissible.” Id. at 657. The Government must also show that the proffered inference would
permit a rational juror to find that the element, like all elements, is established beyond a
reasonable doubt,” as it “would not satisfy the Constitution to have a jury determine that the
defendant is probably guilty.” Id. (citing United States v. Lorenzo, 534 F.3d 153, 159 (2d Cir.
2008) (internal quotation marks and alterations omitted).
      The evidence at Mr. Hunt’s trial was, at best for the Government, in equipoise.
Accordingly, a Judgment of Acquittal is required.
Reliance on First Amendment Principles When Scrutinizing Inferences
         These principles applied to justify the result in Valle even though that case lacked even
the faintest involvement of core First Amendment principles as are present in Mr. Hunt’s case.
Here the inferences required to be drawn are not between criminal agreement and fantasy, but
between “true threat” and political hyperbole. We submit this is and should be subject to even
stricter scrutiny than that which applied in Valle. Mr. Hunt’s case, like the others before it, will
set a data point on the line between political hyperbole/mere advocacy” and criminally
                                                      5
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 6 of 44 PageID #: 1971




unprotected speech. We know from Pauling and other cases that only reasonable, non-
speculative and permissible inferences are permitted. We discussed how U.S. v. Valle, 807 F.3d
508 (2d Cir. 2015), decided that the tie in reasonable inferences had to go the defendant. But it
is in Ashcroft v. Free Speech Coalition, 535 U.S. 234, 246 (2002), that we see how
interconnected are the concepts of permissible inferences and the First Amendment.
Application of Ashcroft v. Free Speech Coalition, 535 U.S. 234 (2002) and R.A.V. v. City of
St. Paul, 505 U.S. 377 (1992).
        We submit that under Ashcroft v. Free Speech, the Government’s inferences must be
tested against the burden upon one’s First Amendment rights, which includes the “right to think,”
which is the “beginning of freedom.” Ashcroft, 535 U.S. at 253. In Ashcroft the Government
argued vigorously, and understandably, that virtual child pornography presents the same harms
and potential harms as “actual child pornography. Ashcroft, 545 U.S. at 236.
       While the Government asserts that the images can lead to actual instances of child
       abuse, the causal link is contingent and indirect. The harm does not necessarily
       follow from the speech, but depends upon some unquantified potential for
       subsequent criminal acts. The Government's argument that these indirect harms are
       sufficient because, as Ferber acknowledged, child pornography rarely can be
       valuable speech, see id., at 762, 102 S.Ct. 3348, suffers from two flaws.
       First, Ferber's judgment about child pornography was based upon how it was
       made, not on what it communicated. The case reaffirmed that where the speech is
       neither obscene nor the product of sexual abuse, it does not fall outside the First
       Amendment's protection. See id., at 764–765, 102 S.Ct. 3348. Second, Ferber did
       not hold that child pornography is by definition without value. It recognized some
       works in this category might have significant value, see id., at 761, 102 S.Ct. 3348,
       but relied on virtual images—the very images prohibited by the CPPA—as an
       alternative and permissible means of expression, id., at 763, 102 S.Ct. 3348.
       Because Ferber relied on the distinction between actual and virtual child
       pornography as supporting its holding, it provides no support for a statute that
       eliminates the distinction and makes the alternative mode criminal as well.
Ashcroft v. Free Speech Coal., 535 U.S. at 236.
        If the First Amendment protects the production and consumption of virtual child
pornography (Ashcroft), with all the grooming and the desensitizing and the appetite whetting
that involves, it would be a strange result indeed if one were not at least equally free to
“consume” political content and discuss political topics in the privacy of one’s own home
without fear of criminal repercussions. Unless the protected content is so logically tied to the
crime that it can no longer be viewed as content discrimination, there is a danger of
constitutional significance that speech, indeed thought, will be chilled.
       Thus, there comes a point when the use of certain inferences comes so close to the line of
content discrimination that it “raises the specter that the Government may effectively drive
                                                     6
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 7 of 44 PageID #: 1972




certain ideas and viewpoints from the marketplace.” R.A.V. v. City of St. Paul, 505 U.S. 377,
387 (1992). The central purpose of the First Amendment is to “prevent[] government from
proscribing speech, or even expressive conduct because of disapproval of the ideas expressed.”
R.A.V., 505 U.S. at 382.
       The R.A.V. Court it overturned a conviction of a defendant who had burned a makeshift
cross on a Black family’s lawn, which had been found to violate a St. Paul, Minnesota Bias-
Motivated Crime Ordinance. The Ordinance criminalized the display of symbols known to
arouse “anger, alarm or resentment in others on the basis of race, color, creed, religion or
gender.” 505 U.S. at 379. The Court that ordinance facially invalid under the First Amendment,
and requires vigilance in the prevention of even subtle forms of content discrimination in the
application of our laws:

        When the basis for the content discrimination consists entirely of the very reason
        the entire class of speech at issue is proscribable, no significant danger of idea
        or viewpoint discrimination exists. Such a reason, having been adjudged neutral
        enough to support exclusion of the entire class of speech from First Amendment
        protection, is also neutral enough to form the basis of distinction within the class.
        To illustrate: A State might choose to prohibit only that obscenity which is the
        most patently offensive in its prurience—i.e., that which involves the most
        lascivious displays of sexual activity. But it may not prohibit, for example, only
        that obscenity which includes offensive political messages. Kucharek v.
        Hanaway, 902 F.2d 513, 517 (CA7 1990), cert. denied, 498 U.S. 1041, 111 S.Ct.
        713, 112 L.Ed.2d 702 (1991). And the Federal Government can criminalize only
        those threats of violence that are directed against the President, see 18 U.S.C. §
        871—since the reasons why threats of violence are outside the First Amendment
        (protecting individuals from the fear of violence, from the disruption that fear
        engenders, and from the possibility that the threatened violence will occur) have
        special force when applied to the person of the President. See Watts v. United
        States, 394 U.S. 705, 707, 89 S.Ct. 1399, 1401, 22 L.Ed.2d 664
        (1969) (upholding the facial validity of § 871 because of the “overwhelmin[g]
        interest in protecting the safety of [the] Chief Executive and in allowing him to
        perform his duties without interference from threats of physical violence”). But
        the Federal Government may not criminalize only those threats against the
        President that mention his policy on aid to inner cities. And to take a final
        example (one mentioned by Justice STEVENS, post, at 2563–2564), a State
        may choose to regulate price advertising in one industry but not in others,
        because the risk of fraud (one of the characteristics of commercial speech that
        justifies depriving it of full First Amendment protection . . . But a State may not
        prohibit only that commercial advertising that depicts men in a demeaning
        fashion.
505 U.S. at 388-89.

                                                     7
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 8 of 44 PageID #: 1973




        Mr. Hunt’s case illustrates how easily the Government’s zeal to prosecute unprotected
speech can burden protected speech. For example, the Government’s entire cross was designed
to shame Brendan Hunt for his political views, including thoughts he expressed in private. The
zeal and outrage of the Government toward Mr. Hunt’s words must be viewed with a clinician’s
eye to weigh competing inferences -- in order to compete at all the inferences must be
permissible. The emotion and disgust must be removed from the analysis. The Court so
instructed the jury:
        SYMPATHY, FEAR, PREJUDICE, BIAS Instruction O (Tr. 1120):

        Instruction O. No sympathy, fear, prejudice or bias. In reaching your verdict,
        you are to be guided solely by the evidence in this case, and not be swayed by
        sympathy, fear, prejudice, or bias for one side or the other. The crucial question
        you must ask yourselves as you sift through the evidence is: Has the Government
        proven the guilt of Defendant beyond a reasonable doubt?
        POLITICAL VIEWS INSTRUCTION Instruction M (Tr. 1119):

        Instruction M. Consideration of Political Views. You have just heard testimony
        and actually received some exhibits related to what might be considered
        Defendant's political views. You must treat this evidence with caution. This
        evidence alone cannot be used to find Defendant guilty of any of the offenses
        charged in the indictment. I should say, guilty of the offense charged in the
        inictment. It may, however, be considered by you for limited purposes, such as
        considering the context in which statements attributed to Defendant were made,
        what Defendant's intent was in making the statement, and his expectation
        regarding the effects of his statement. You cannot find Defendant guilty because
        you disagree with or find distasteful his political views.
       The Court also instructed the jury how it could use uncharged acts;
       UNCHARGED ACTS INSTRUCTION Instruction L (Tr. 1118)

        Instruction L. Uncharged acts considered for a limited purpose. Defendant is
        charged with making four statements that the Government claims are "true
        threats" under the law. I admitted evidence of other statements, expressions,
        beliefs, opinions, acts, or communications, allegedly made by Defendant, for the
        limited purpose of determining whether Defendant acted with the required intent
        in regard to the charged offense. You may consider evidence of uncharged
        acts or statements, expressions, beliefs, opinions, acts, or communications,
        as evidence of Defendant's motive, knowledge, absence of mistake, or lack
        of accident with respect to the four charged threats. Evidence of uncharged
        conduct by Defendant may not be considered by you for any purpose other than
        the ones I have just listed. Specifically, you may not consider this evidence as
                                                    8
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 9 of 44 PageID #: 1974




        proof that Defendant has a criminal propensity; that is, that he likely committed
        the crime charged in the indictment because he was predisposed to criminal
        conduct. You also may not substitute uncharged statements, expressions, beliefs,
        opinions, acts, or communications for the four statements that the Government
        alleges are the threats.
       A Judgment of Acquittal Does Not Condone the Contested Speech
        A Rule 29 Judgment of Acquittal here would not condone the speech at issue. These are
not easy cases, but no one would suggest that the Justices and Judges in Ashcroft v. Free Speech
or Valle were condoning those sickening practices, or that Judge Reinhardt was condoning the
ugly N-word speech in United States v. Bagdasarian, 652 F.3d 1113 (9th Cir. 2011), or that Chief
Justice Roberts was happy to uphold the right of a religious zealot to display ugly “God Hates
Fags” signs at Iraq War Veterans funerals in Snyder v. Phelps, 562 U.S. 443 (2011). We know
that the entire point of exempting “true threats” from First Amendment protection is to ensure
that officials can do their jobs free from fear of violence and the “the possibility that the
threatened violence will occur[.]’” Turner, 720 F.3d at 42 (quoting Virginia v. Black, 538 U.S.
343, 359–60). Here, there is nothing from which to infer that this statutory harm would have
come to be. Not a single Member of Congress – or their staff -- was placed in fear, much less
made aware, of that Brendan Hunt made a Bitchute Video until the FBI – not Hunt or anyone
associated with him – advised them they had a man in custody who had threatened their lives.
Insufficiency of the Evidence on “True Threat”
       The Court’s instruction on this element is as follows:
       TRUE THREAT INSTRUCTION. (Tr. 1127)

        The first element that the government must prove beyond a reasonable doubt is
        that defendant made a threat to assault or murder. As this is a case involving
        speech, I advise you that the First Amendment protects vehement scathing and
        offensive criticism of public officials, included Members of Congress. The First
        Amendment therefore protects political exaggeration or expressions of the
        opinion. Further, the First Amendment protects mere advocacy of the use of
        force or violence. But the First Amendments does not protect "true threats" as I
        will now define the phrase. For a statement to be a true threat, it must been made
        under such circumstances that an ordinary, reasonable person who heard or read
        the statement, and who is familiar with the context of the statement, would
        understand it as a serious expression of an intent to inflict bodily injury. This
        question is informed by whether the statement is, on its face and under the
        circumstances, so unequivocal, unconditional, immediate and depending on the
        circumstances, even if conditional and implicit statement can be threat. And an
        example of such a statement is "your money or your life," which although
        conditional and not containing explicitly threatening language, could

                                                    9
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 10 of 44 PageID #: 1975




         nonetheless constitute a threat specific as to the person threatened as to convey
         seriousness and imminence.
        The Government does not seriously dispute that the only legally cognizable “true threat”
in the video is the conditional statement: “If anybody has a gun, give me it, I will go there
myself and shoot them and kill them,” GX 21. See Opp. at 16–17. A statement that is “an
imperative intended to encourage others to take violent action, if not simply an expression of
rage or frustration,” is not cognizable under a threat statute. United States v. Bagdasarian, 652
F.3d 1113, 1119 (9th Cir. 2011).
       The rest of the words in the video at best merely exhort others to action, thus suggesting
prosecution under one of the incitement laws – such as the Riot Act,18 U.S.C. § 2101 and 2102,
18 U.S.C. § 2383 (Rebellion), 18 U.S.C. 2384, 18 U.S.C. § 2384 (Sedition), or 18 U.S.C. § 2385
(Violent Overthrow). But these are not charged here and the jury was instructed of the
lawfulness of “mere advocacy.”
         It is true that even a conditional threat can be a true threat under certain circumstances.
United States v. Malik, 16 F.3d 45, 49 (2d Cir. 1994). “So long as the threat on its face and in
the circumstances in which it is made is so unequivocal, unconditional, immediate and specific
as to the person threatened, as to convey a gravity of purpose and imminent prospect of
execution, the statute may properly be applied.” U.S. v. Kelner, 534 F.2d 1020 (1976). Let us
not forget that Kelner offers a “narrow construction” of the word in the 18 USC 875(c) context,
because that is what was approved in Watts, 394 U.S. at 708. We do not disagree that the Kelner
factors can be flexibly applied, but when the facts miss the mark on every Kelner factor but for
the literal words of the video – and those being conditional – flexibility bends too far.
       No Factors Exist to Transform the Conditional, Indirect Threat to a True Threat
        The Court’s “your money or your life” example, Tr. 130, illustrates this point. While the
statement “your money or your life” may be conditional, it is directed at “you” – it is a
conditional, yet direct, threat. The Bitchute video, on the other hand, was a conditional and
indirect threat. By analogy, had a video entitled “Dear Congress: Rob Your Senators: Your
Money or Your Life If I Don’t Get My Stimulus Check” been posted on social media, absent
some aggravating factor, e.g. the speaker had previously robbed someone for their stimulus
check, this conditional and indirect threat would not be a “true threat.”
        In order to sustain the verdict here, the Government must downplay the aggravating
factors in Turner, and it does. Opp. at 15. Turner is the only case in this Circuit that suggests
Mr. Hunt’s conviction under Section 115(a)(1)(b) is even possible, and it is, admittedly, one of
the more enigmatic opinions in this area of the law. But the Government cannot explain what
“Hunt factors” compare to “Turner factors,”1 apart from unreasonable impermissible inferences.

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 The aggravating contextual circumstances in Kelner are worthy of repeating. There the
speaker, a Jewish Defense League (JDL) leader, called a major news station to a press
conference the day that Yassar Arafat was to speak at the United Nations and said he planned to
                                                  10
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 11 of 44 PageID #: 1976




        In its opposition, the Government concedes that Mr. Hunt is not a public figure. Opp. at
14, n. 8. It identifies no co-conspirators over whom Mr. Hunt exerted control. In this regard, the
Government’s speculations about why Mr. Hunt might have used Bitchute because he believed it
an effective way to threaten Members of Congress can be easily debunked, especially when
contrasted with the facts in Turner, which turned on contextual facts from which one could
reasonably infer that an indirect threat (posted on a blog instead of sent to the victims) was
intended to get to the victims. The fact that took Turner’s indirect threat to the next level were
actually chilling. Compare Mr. Hunt’s name-calling of the most well-known Democrats “AOC,
Pelosi, and Schumer” (and those in acquitted threats) to Turner, where the defendant targets
three particular judges (all of whom testified at his trial) and provided detailed information about
their locations. 720 F.3d at 411. Turner also described himself as having control over followers
such that he took responsibility for the prior murder of a federal judge just like the ones he was
threatening. Turner, 720 F.3d at 417 (defendant boasts on his blog that through his shock jock
radio and internet show he has gotten “in touch with enough of the right people to get it done,”
and refers to the killing of a judge in Chicago as “proof” of his influence.)
       Nothing approaches that level of personalization here, and the stronger inference is that
Mr. Hunt used the names “AOC, Pelosi, and Schumer” in the acquitted threats because they are
the household names of the Democratic Party at the moment. See generally Tr. 853 (Mr. Hunt’s
testimony that these were names that he had “kind of picked out of the air, like AOC, Pelosi,
Schumer, it wasn't that I was trying to target them, you know, in real life; I was just picking out
the most popular names on the left-hand side of the political spectrum.”) In any event the
Bitchute video named only Joe Biden, who is not a named victim of this crime.
        Another aggravating contextual factor in Turner was Turner’s sending of emails to
another state court official and the New York Times, bragging about how his identification of
judges on his blog got them killed. Hunt was like the opposite of Turner – meandering and
malleable in his political theories and opinions, saying such non-threatening things as “I'm trying
to reason in my mind because I don't know. I don't know any more than anybody else does.” DX
19/20. There is no evidence that Mr. Hunt once claimed control of a single person in the
furtherance of any perceived threat, and chose to post it on Bitchute, rather than the far more
popular YouTube because Bitchute was more friendly to free speech – and he felt he could be
outlandish there.
       Mr. Hunt explained in his testimony:



assassinate Arafat . CBS news anchor John Miller (a well known New York journalist back in
the day) interviewed Kelner at the Waldorf-Astoria Hotel, where Arafat was expected to stay.
When Miller arrived, Kelner was “seated in military fatigues behind a desk with a .38 caliber
pistol “police special” in front of him,” and to his right was another man dressed in military
fatigues. Kelner, at 1021. Mr. Hunt, by contrast, was all alone in the Bitchute video, against the
drapes in his living room, wearing a comic book sweatshirt. GX 203.

                                                    11
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 12 of 44 PageID #: 1977




       YouTube was cracking down on things like free speech and controversial ideas and
       conspiracy theories. So I felt a bit more free on BitChute. BitChute described itself as a
       freedom of speech platform. So I felt a little more entitled to post some conspiracy-theory
       documentaries. I think I had one or two up there at the time. And especially the Capitol
       stuff, I felt those things weren't going to get taken down or censored in the way that
       YouTube might do that. And especially a video like Kill your Senators, I knew that kind
       of stuff wouldn't fly on YouTube. And plus, that wasn't really a message I was trying to
       get out to people. I had thousands of subscribers on YouTube, but I didn't want to
       broadcast that kind of thing to a lot of people. So I went on BitChute, just threw that out
       there into the ether. And I think I had about 100 subscribers at the time. So I knew that a
       lot of people weren't going to watch or listen to me, and I didn't think anybody would
       take me seriously.
Tr. 858.
       He further explained:
       Q: I mean, when you saw the comments coming in on the Kill your Senators video,
       did you think you were going to be able to galvanize people to start maybe a war?
       A No. I was taking a more, I guess, you know, outlandish approach to the whole
       thing, where I think that one of the commenters was actually a bit more serious than
       me. He was like all right,this is the way to do it. We have to go to these secret chat
       rooms and stuff. And I was like hell, no, if you want to do it, get out there and say
       what you mean, things like that. And it wasn't really a serious proposition that I was
       saying; it was kind of just like playing along with this sort of rhetoric that was going
       around at the time, and there wasn't any kind of intent on my part to sort of galvanize
       a militia. I'm not a political leader or a military leader of any kind. I'm sort of just
       a YouTube guy who makes controversial content and clickbait videos.
Tr. 859.
        Mr. Hunt’s explanation makes far more sense than the inference about why Mr. Hunt
posted on the more obscure Bitchute rather than Youtube or sending his video directly to
Members of Congress. The Government’s only attempt to explain the lack of direct
communication is to argue that Mr. Hunt believed that posting on BitChute would transmit the
Video to Members of Congress: “[a] rational jury could have inferred that the defendant believed
such a mode of distribution to be an effective way of threatening all Members of Congress at
once.” Opp. at 22. They also make the implausible claim that Mr. Hunt chose to post the video
on BitChute “in order to threaten all Members of Congress at once.” Id. In the battle of
inferences, this one does not even seem like a tie. This is not to say that proof of direct threat was
required. But the Government’s view is not only speculative, it ignores facts that contradict it. It
makes no room for the tussle Mr. Hunt had with the commenter to the Bitchute video who
seemed to want to make actual violence happen but underground, while Mr. Hunt wanted to talk
about revolution in the open. Nor can it explain how Mr. Hunt considered, but did not post, the
picture of the firearm. DX RR. There was no evidence that suggested Mr. Hunt or anyone
                                                     12
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 13 of 44 PageID #: 1978




believed BitChute could serve a threatening purpose, as opposed to a freedom of expression
purpose. DX Z (Hunt discussing his use of Bitchute over text in April 2020: “I could be just
another lame youtuber talking about harmless topics, or I could be a pioneer of new media
platforms and a champion of free expression…that’s the choice I see before me.”) In short, the
notion that Mr. Hunt “believed” BitChute would provide an effective “mode of distribution” is
not a reasonable, non-speculative inference that could have been drawn from the evidence
presented at trial. As such, it cannot be considered for purposes of this motion. See Blasini-
Lluberas, 169 F.3d at 62.

        Even if these conflicting states of mind were in equipoise (which they are not), the
inference cannot compare to the much more aggravating facts in Turner that showed exactly why
Turner viewed his blog as “an effective mode of distribution”: he credited his blog for having
led to the actual killing of a judge. Turner, 720 F.3d at 411.

       Words/Context of Video
       The Government claims that a reasonable juror could find “true threat” from the
defendant’s “serious demeanor” in the video and the literal “words of the video,” including its
“written title.” Opp. 16.
        Under Second Circuit law, “it is not enough to show the use of language that is literally
threatening.” See United States v. Sovie, 122 F.3d 122, 125 (2d Cir. 1997). Here, when
comparing the competing inferences to be drawn, it is the Government’s that fail. The failure of
499 viewers and 15 commentors to report the video to law enforcement “blunts any perception
that statements made [in an online posting instead of directly to the victim] were serious
expressions of intended violence.” Bagdasarian, at 1121 (noting that three out of four
commenters on Bagdasarian’s online post wrote that they planned to alert authorities, but only
one actually reported it).
        The Government chose not to call that witness, instead calling Jordan Holt, an FBI
employee in the Social Media Exploitation Team of the FBI National Threat Operations Center.
Tr. 42. Ms. Holt followed protocol of that unit in looking at the publicly available information
on the internet, what “anyone can do,” to identify the speaker and assess whether to open a
“Guardian” tip in the FBI system. Id. There were no previous mentions of Hunt in the tip
system. Tr. 111. Ms. Holt also testified that she had never worked up any threats on Bitchute
through the Social Media Exploitation Unit of the FBI, Tr. 112, so there was no evidence that
Bitchute was known to be a place for making threats. Moreover, in reviewing Mr. Hunt’s online
presence, she did not note any other threatening material, Tr. 123.
        In her position since March 2019, Ms. Holt handled about 4 calls a day. Tr. 104.
Between June of 2020 and the January 8, 2021 tip, she recalled that she had handled about 50
tips involving threats to politicians, and about 25 of those had been referred to the “Guardian”
system. Tr. 105.



                                                    13
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 14 of 44 PageID #: 1979




        Just over two months later, on March 18, 2021, three federal prosecutors interviewed her
about her handling of the Bitchute video and tip. Tr. 106, 126. Despite the fact that she had
been shown a press release about Mr. Hunt’s arrest prior to this interview, she still could not
recall the Kill Your Senators video. Tr. 135-136. It was only after the prosecutors’ interview
that she remembered the video and even then could not recall putting it into the Guardian system.
Id. Asked on cross examination if this failure of memory was because she worked so many
politician video cases, Ms. Holt testified as follows:

           Q Now how many Guardian cases involving video threats of politicians you
           think you have personally worked on either as an intake person or the social
           media exploitation unit?

           A Just a couple.
Tr. 106.
        Ms. Holt conceded that even after she remembered that the Kill Your Senators video was
put into the Guardian system, she still could not remember which supervisor she had discussed it
with, and gave a name of who she “probably” spoke to about it. Tr. 111.
        This failure of memory of the only person to testify who saw the video before the
prosecution began is significant. If this video was so objectively terrifying, how could Ms. Holt
have simply forgotten about it within two months? It is not as if she saw hundreds of such
videos. She testified that she had only seen a “couple” of video threats to politicians in her job,
and it was the only one that prompted a meeting with prosecutors. Tr. 106. This testimony
supports the opposite inference from that which the Government promotes – that the video in
question was not so remarkably chilling or memorable that she could remember it when
summoned by prosecutors two months later.
       The “literal seriousness” is also reduced when viewed in the context of Mr. Hunt’s online
presence, as any reasonable viewer would, a fact that the Government ignores in its inferential
calculus. Mr. Holt admitted she saw nothing threatening during her review of Mr. Hunt’s social
media. Tr. 123. The online presence set forth in DX KK1-4, and DX LL, all of which was
publically available and much of which was accessed by Ms. Holt, contain not a single
suggestion that Mr. Hunt has the capacity, the firearms, the plan, or the ability to carry out the
conditional threat made in the Bitchute video. Even his Bitchute profile suggest that he is a
provocateur about free speech, using the description of his channel as “fuck youtube”, GX 3,
which is hardly a threat to Members of Congress.
       Moreover, Mr. Hunt’s Bitchute profile does nothing to hide his identity. This too raises
the opposite inference from that drawn by the Government, that in “some circumstances a
speaker's anonymity could influence a listener's perception of danger. Bagdasarian, 652 F.3d at
1120.



                                                    14
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 15 of 44 PageID #: 1980




                                         15
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 16 of 44 PageID #: 1981




        None of these contextual cues suggest seriousness, or add to the context any indication
that Mr. Hunt was capable of or planning to carry out any acts of violence. Mr Hunt’s online
presence suggests he is an activist, musician, actor, comic artist, shows his cartoon-inspired
videos, and more. Most of Mr. Hunt’s Bitchute videos were acting videos, including Shakespeare
performances and videos questioning Government involvement in tragic events such as 9/11,
Sandy Hook, and the Boston Bombing. Tr. 857. His interest in these events, not rebutted in any
way by the Government, was patently motivated (as expressed in the videos themselves) by his
belief that the Government might have had some hand in the event. Tr. 924-25. The context


                                                 16
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 17 of 44 PageID #: 1982




therefore is more consistent with the performative nature of the Bitchute video, rather than the
seriousness of the threat.
        The Government claims that the implicit reference to the January 6, 2021 events in the
BitChute Video made the video more objectively threatening. Opp. 16. But this requires an
inference that the threat at issue here (“if anyone has a gun . . .”) involves getting a gun from
someone so that Mr. Hunt could take it to the Capitol (where he had clearly never been). It also
borrows from Turner, but in a way that disproves rather than proves the Government’s point.
There being no dispute that Mr. Hunt was never at the Capitol or that he had any control over
those who were, the events at the Capitol are hardly like the reference in Turner to the killing of
Judge Lefkow, for which Mr. Turner took credit. Turner, 720 F.3d at 417 (Turner connected the
prior frightening event -- the killing of a judge -- to his own ability to carry out the threat by
saying “I know how to get it done. Federal District Judge Joan Humphrey Lefkow in Chicago is
proof.”)
       In fact, unlike Turner’s blog posts, Mr. Hunt’s videos portrayed the events at the Capitol
(the equivalent of the Lefkow killing for these purposes) as being distinctively non-threatening.
The way Mr. Hunt portrayed it on his Bitchute videos, it was the Capitol protestors who were
victimized and attacked, not the Capitol police or Members of Congress. See GX 27 (Bitchute
video entitled “DC cops LET THEM IN to Capitol, Pushed Man Off Balcony”); GX 23 (Bitchute
video entitled: HORRIFIC: DC cops Shoot Unarmed Patriot Girl Thru Neck in Capitol
Building).
         Whatever else can be said about the events of January 6, 2021, the only shooting that was
done was of protestor Ashleigh Babbitt who was shot by Capitol Police. GX23. The events at
the Capitol were not brought about by Brendan Hunt, and he offered no explanation in the video
why those events would make his threat seem more serious. Cf. No reasonable viewer of the
BitChute Video would assume Mr. Hunt was capable of accomplishing anything close to what
happened on January 6, 2021, and the 15 comments to the video do not suggest that anyone else
is in the least bit interested in his proposal. The context evidence also shows videos prominently
displayed on his channel that discuss the opposite of what the Government claims -- that people
avoid violent conflict and association with extremists. DX 19 (urging people on the left and the
right not join up with groups, describing “extremist groups [as] the mobs that get easily
manipulated.”)
        Because context is important, it should also be noted that in the months following the
election of 2020 and preceding the 2021 Inauguration emotions among people in general were
very high. “[W]ords or phrases take their character as threatening or harmless from the context
in which they are used, measured by the common experience of the society in which they are
published.” Malik, 16 F.3d 45, 50 (2d Cir. 1994) (quoting United States v. Prochaska, 222 F.2d
1, 2 (7th Cir. 1955)). There was a sense of doom or Armageddon that permeated the country.
Mr. Hunt testified about his own growing frustration being fueled by that environment, his
viewing of others on the political left who engaged in threatening-sounding rhetoric without
reprisal, including celebrities saying they wanted to kill Trump or showing the execution of
                                                    17
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 18 of 44 PageID #: 1983




Trump. Tr. 620-21. The Government presented no evidence to rebut this testimony. Indeed,
their own expert witness testified that “Democrats and republicans alike have portrayed
America's choice in the 2020 election in apocalyptic terms,” and that “both sides portrayed the
potential end of time, unless their candidate won.” Tr. 602.
       Lack of Specificity as to Time/Place
         The indirect, conditional nature of the threat might have been overcome had the video
contained other information so specific as to place and time for executing the threat that a
reasonable person would fear its “seriousness and imminence.” On this point, the government
claims that Mr. Hunt lent “credibility to his threat,” Opp. At 14, by making it specific as to time
and place, i.e. the inauguration of President Biden. But the statement says the opposite. The
actual statement in the Bitchute video regarding time and place is: “probably the inauguration . .
. that’s probably the best time to do this.” GX 21. The government cannot dismiss this as mere
syntax, as the Second Circuit has recognized that syntax is a relevant factor in cases, like this
one, where the alleged threat is vague and brief. See Turner, 720 F.3d at 423, n.6.
       Two uses of “probably” in one threat should probably make the threat be taken less, not
more, seriously. With no specific date, time, or place (other than “the Capitol”) for any act of
violence to occur, and given so ambitious a threat (“slaughter them all”), a reasonable listener
would expect some coordination in order for the threat to be taken seriously.
         But the comments show the opposite – that Mr. Hunt was all about the principle of
revolution, not the threat to Members of Congress. It was revolution he wanted to discuss, not
the planning of a slaughter. It is significant that the one comment the government choose to
focus on in its opposition – the one that says “we do this on the dark web” – Mr. Hunt pushes
back, not on logistics (like someone who truly wanted to make good on violent threats) but on
lofty principles of revolution. Even his debate with that commentor suggest that he is not to be
taken seriously. There is nothing about this video that indicates Mr. Hunt expects a response
from anyone who might join him. There is no follow up the video, no further instructions. After
it is deleted the next day, Mr. Hunt goes right back to posting videos about politics as if the “Kill
Your Senators” video never happened. No rational juror could have concluded beyond a
reasonable doubt that a reasonable person would view the BitChute Video and assume a co-
conspirator might engage in violent acts.
       Reaction of the Crowd
        Contrary to the Government’s argument, the proof at trial not only failed to show the
seriousness of the Bitchute video, it showed the opposite – that the real time listeners did not take
it seriously. As the threat was made on the medium of Bitchute, the most probative evidence of
reasonable reaction to that context for the threat is in the comments, which are the modern day
equivalent of the crowd in U.S. v. Watts. In Watts, the crowd listened to the defendant’s
conditional threat that if given a gun he would shoot then-president Lyndon Johnson. No one
offered Watts a gun or joined in his call to action – the Court noted that many laughed. U.S. v.
Watts, 394 U.S. 705, 707 (1969). Likewise, the crowd to Mr. Hunt’s Bitchute video offered no
                                                     18
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 19 of 44 PageID #: 1984




firearm, no ride to Washington, no contact information to coordinate plans. To the contrary, the
comments ranged from comical (“soi boy twat”) to skeptical (“he must be Antifa or FBI”) to
pitying (“you seem like a young kid, don’t mess up your life”) to insulting (“this is not how we
do it”). When a commenter commented on the literal words “I don’t have a gun,” it was not to
offer a gun, but rather to state how that his threat was clownish: “what a clown. He doesn’t even
own a gun and he is telling people to go sho[o]t others.” Def. Ex. RR. To this, Mr. Hunt did not
respond by claiming his access to guns; rather he took the video down from public view that day.
DX RR.
       Law Enforcement and Lay Assessment of Threat/Not Calling the Tipster
        We continue to believe that the Court should not have permitted testimony of law
enforcement or law witnesses about their reaction to the Bitchute video post-dated Mr. Hunt’s
arrest. Tr. 94-98; 363:30-25, 687:12-702:14, 772:7-775:13.
         Still, even taking that evidence at face value, a reasonable person reference has to be a
person who would have been familiar with the threat around the time it was made – not with the
prosecution for the making of the threat. To permit the jury to rely on post-prosecution
impressions of witnesses as to the seriousness of the threat is the ultimate form of bootstrapping.
Other than the FBI threat intake examiner, who was by definition not the audience for the threat,
is a classic example of the cart pulling the horse, especially where the Government chose not to
call as a witness the one person who could have offered that evidence.
        The Government’s claims that “its decision not to call a particular witness to testify has
no bearing at all on the sufficiency of the evidence that actually was presented to the jury to
support the jury’s verdict.” Opp. 20 n. 10. But the absence of the tipster is glaring given that the
only other witness to testify about seeing the Bitchute video prior to Mr. Hunt’s arrest was FBI
Intake examiner Jordan Holt, and while she testified that she found it merited a “Threat to Life”
designation, as discussed above could not remember it even after being shown a press release
about it, and despite the fact that it was the only “threat” that she worked on in her tenure with
the FBI that resulted in a prosecution, prompted prosecutors to contact her, or resulted in the
placement of a “success story” in her employment file. Tr. 106. And yet, up until the moment
the video was played for her a month after the date of the crime, she still could not remember it.
Tr. 135-36.
        This failure of recollection is inconsistent with how a reasonable person could see this
video and find it so “serious and imminent” as to be a crime. That Ms. Holt put it into the
Guardian system as a “threat to life” was her job, not evidence of how a reasonable person would
react to the threat. Even if she had remembered the video independently (because it was so
strikingly serious as opposed to all the other threats she was seeing), she testified that she entered
about half of the threats she received into the system. Even at this rate – there is insufficient
evidence – a 50/50 threat-to-report ratio in and of itself is inconsistent with the reasonable doubt
standard. And if she could not even remember the Bitchute Video when questioned by
prosecutors until after she saw it, there is no evidence from her testimony that can qualify as

                                                     19
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 20 of 44 PageID #: 1985




sufficient to permit a reasonable juror to find the reasonable person standard met by Ms. Holt’s
testimony.
         The Government states that a rational juror would have relied on the testimony of
professional law enforcement officers to determine how an ordinary person would have viewed
the threat: “Every witness who testified at the trial . . . testified that the “Kill Your Senators”
video was a serious threat.” Opp. at 16. The government’s blunt admission that the jury would
have relied on law enforcement witnesses or Mr. Bonthius, the Congressional staffer whose job it
is to respond to threats, to determine how an ordinary person would have understood the Bitchute
video underscores the highly prejudicial nature of this evidence. See United States v. Hanna, 293
F.3d 1080, 1086 (9th Cir. 2002) (ruling that “law enforcement officers were particularly
unqualified to comment on what the ‘reasonable person’ would have foreseen” regarding the
seriousness of a threat). And, both Mr. Bonthius and Capitol Police witness Derosseiers heard
about Brendan Hunt through his arrest, not through his threat.
        Mr. Hunt’s argument is not that a rational juror would have ignored the testimony of the
Government’s witnesses. It is that the Government would not have defeated the “tie goes to the
defense” rule. In the battle of competing inferences, it is the inference that viewers did not take
it seriously that must prevail. Only 1 out of 500 viewers of the video on Bitchute called law
enforcement. Those numbers speak for themselves. See Mot. 9–11.
        Based on this lack of evidence of context supporting an inference of seriousness, no
rational juror could have determined beyond a reasonable doubt that a reasonable person would
have understood Mr. Hunt’s conditional, indirect threat of the Bitchute video was a crime. See
GX 21.
Insufficiency On Specific Intent Element
       The Court instructed the jury on this element as follows:
       THIRD ELEMENT: INTENT (Tr. 1134-1135).
       Third element: Intent. The government must prove beyond a reasonable doubt that
       defendant acted with the intent to impede, intimidate, or interfere with the officials while
       they were engaged in the performance of their official duties, or with the intent to
       retaliate against the officials on account of the performance of their official duties.
       "Impede" means to stop the progress, obstruct or hinder. "Intimidate" means to make
       timid or fearful, to inspire or affect with fear, to frighten, to deter or to overawe. To
       "interfere with" means to come into collision with, to intermeddle, to hinder, to interpose,
       or to intervene. To "retaliate against" means to return like for like, or to act in reprisal for
       some past act. Direct proof of a defendant's intent is almost never available. It would be a
       rare case where it could be shown that a person wrote or stated that as of a given time, he
       or she committed an act with a particular intent. Such direct proof is not required. The
       ultimate fact of intent, though, subjective -- sorry, the ultimate fact of intent, though
       subjective, may be established by circumstantial evidence based upon the defendant's

                                                     20
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 21 of 44 PageID #: 1986




       outward manifestation, his or her words, conduct, acts, and all of the surrounding
       circumstances disclosed by the evidence and the rational or logical inferences may be
       drawn from them. You may consider, for example, whether there's evidence that
       defendant intended or did not intend any of his statements to reach the officials in
       question. The government, however, does not need to prove that the alleged threats
       actually reached those officials.
Tr. 1134-1135
         At the outset, we reiterate our position that a general mens rea should have been charged
in this case, pursuant to Virginia v. Black and the reasoning in Elonis, which applies because the
specific intent in 18 USC 115 is jurisdictional), and that an acquittal would have resulted based
on the failure to tie any of the highly prejudicial “other act” evidence to a true criminal motive
(rather than a jurisdictional element). However, even without the Virginia v. Black/Elonis mens
rea element to overcome, the Government’s proof and the Defendant’s case, taken together,
cannot lead to reasonable, non-speculative inferences that favor guilt. Instead the inferences that
can both legally and reasonably be drawn here require a finding of legal innocence.
        The evidence adduced at trial did not make out even the nearly strict-liability “intent to
obstruct or retaliate against” that the Court instructed. To prove his intent, the Government
relied exclusively on “background evidence,” as will be discussed, infra. But the foreground
evidence was his testimony, and the Government was determined not to let him explain his own
state of mind.
        The failure of Congress to get the message (until the Government delivered it) was
precisely because of Mr. Hunt’s inaction, and this speaks volumes to his intent. He testified
about this without challenge:
       Q And did you have any expectation, Mr. Hunt, that your BitChute video or your
       Facebook posts or your Parler posts would somehow be seen by any members of
       Congress or their security details?
       A No, I had no expectation of that. Frankly, if I really was intent th on doing that,
       I could have easily sent these things out to people. If I wanted to really put out a
       message that you should kill your senators, it would have been easy for me to
       possibly make an anonymous channel and put out messages that way. But instead,
       I put it out on a channel that I had my name plastered all over the place. The
       Government I think, in one of their arguments, said that I was posting under an
       alias, which isn't really true. I had my name associated with X-ray Ultra on the
       pages and everywhere, and I was pretty open about who I was. I wasn't trying to
       intimidate any Congress people with these messages. I wasn't posting these
       messages on their social media accounts. I wasn't interacting in that way at all.
Tr. 860-61.


                                                    21
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 22 of 44 PageID #: 1987




        Instead of probing Mr. Hunt himself on this point, the Government sought yet another
inference – that “[a] rational jury could have inferred that the defendant believed such a mode of
distribution to be an effective way of threatening all Members of Congress at once.” Opp. at 22.
How would a rational jury have inferred that? Based on what facts? On what logical foundation
can the Court sanction the inference that someone believes a mode of communication with no
known link whatsoever to the victim threatened would be an “effective way” of threatening the
victim, especially in the face of their unchallenged denial under oath?
       The law requires that the Government prove that the threat was communicated through
“means reasonably adapted to [the] purpose” of carrying out the threat. United States v. Sovie,
122 F.3d 122, 125 (2d Cir. 1997). No such inference can be rationally drawn here.
        The Government also makes the absurd claim Mr. Hunt succeeded in using BitChute to
“get the word out” because 500 people viewed the video and so the “the defendant’s plan
worked.” Opp. at 21. The evidence shows the opposite – it did not work at all. Not a single
Member of Congress or their staff viewed the video while it was publicly available and Mr. Hunt
had no reason to think they did before he took it down. The only reason the video “worked” is
because the Government – not Mr. Hunt – publicized in such a way as to cause the precise sort of
fear that the law seeks to avoid.
        The Government’s opposition also argues that “[i]n videos posted after the ‘Kill Your
Senators’ video, the defendant continued to express a desire for removal of Members of
Congress through violence.” Opp. at 7, pointing to Mr. Hunt’s January 9, 2021, query to the
internet: “What can we do now, besides an open revolt?” GX26. This is clearly constitutionally
protected by Brandenburg v. Ohio, 395 U.S. 444, (1969) and its progeny, as are his statements that
Members of Congress “need to go” and “should be scared.” At most, these statements suggest
that Mr. Hunt is floating the idea of revolution, which he is legally entitled to do. The Court’s
jury instruction prohibits the very inference that the Government promotes: “The First
Amendment protects mere advocacy of the use of force or violence.” Tr. 1127. Protected
incitement cannot be used to prove unprotected threat, and Mr. Hunt’s protected advocacy
should raise no inference that he intended to make unprotected threats, and to allow such an
inference results in an unlawful burden on speech. Ashcroft v. Free Speech Coalition, 535 U.S.
at 255. (“Government may not suppress lawful speech as the means to suppress unlawful
speech. Protected speech does not become unprotected merely because it resembles the latter.”).
       Without any meaningful evidence of “intent,” the Government resorted to relying
exclusively on evidence of background motive evidence involving Mr. Hunt’s supposed “white
supremacist and anti-Semitic beliefs directly motivated” the BitChute Video. See Opp. 7. The
Government does not seem to dispute that this requires inferential reasoning, as opposed to Mr.
Hunt’s plainly expressed motivation for his video – his political disagreement with the 2020
Election and the treatment of protesters at the Capitol on January 6, 2021. See Opp. 2
(conceding that the “defendant’s actions were motivated” by the election and upcoming transfer
of power). The Government chooses to ignore this expressed intent and engage in inferential


                                                    22
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 23 of 44 PageID #: 1988




gymnastics instead in order to prove a malicious intent. This is a strategy that cannot be
sanctioned applying the principles of Pauling, Ashcroft, R.A.V., and the First Amendment.
        Finally, it is worth noting that the Government Opposition’s only comment on Mr.
Hunt’s testimony was to belittle him for saying that he felt that the courtroom was like stage,
even a national stage, and that he said things he regretted and for which he took responsibility.
Opp. At 24. This, from a man with a theater degree from Fordham University, most of whose
published videos were of him performing, with his particular emphasis on Shakespeare, Tr. 857,
who observed this long before he met the prosecuting attorney cross examining him in a highly
publicized case. “Not just politicians,” he wrote, “the whole world is a stage[,] each one of us is
just an actor, exiting and entering, and playing different parts.” DX U (Facebook Post,
November 24, 2020).
        The Government’s cross examination, while humiliatingly focused on making Mr. Hunt
repeat or confirm his offensive words they had no evidence to rebut his thoughtful testimony
about what led him to the utter stupidity of his Bitchute post:
       If I had to describe what was going through my mind at the time, I felt like I was in
       sort of a football stadium where the democrats and the republicans were really
       slugging it out and tackling each other, and it was getting rough. And I felt like I
       was in the stands with everybody drinking beer saying, yeah, yeah,
       #millionmilitiamarch, you know. And I didn't really take it seriously any more than
       a sports fan would say, yeah, I want the Yankees to murder the Red Sox or
       something. And then all of a sudden I felt like the lights in the stadium went out
       and the spotlights all came on me. And I a lot of the awful things that I said started
       getting broadcast on the big screen for everybody. And I -- after reflecting on a lot
       of the stuff, I see that there's been a very negative impact on the country . . . and I
       think that the incendiary language that I was using ended up adding a lot more fuel
       to an already raging political inferno in this country. And going forward, I'd like to
       be the kind of guy who throws water fire and doesn't inflame anything.
Tr. 824.
      After that the Government proceeded to make Mr. Hunt repeat in “yes or no” fashion the
bad words he never denied uttering.
        The Government’s cross examination failed to show how Mr. Hunt would have a motive
to issue a true threat given that he had a stable job of four years in the local court system and his
utter lack of interest in the weapons that would be necessary for a coup. They could not dispute
his candid description of how during the COVID lockdown he became increasingly isolated, was
drinking and smoking cannabis to an excessive degree, and not talking to anybody. Tr. 821-823.
“I think that a lot of that stuff affected my judgment,” he testified, “as far as what I thought was
funny, what I thought, you know, people would understand.” Tr. 823.
The Proper Weight and Inferences to be Drawn From Background Evidence

                                                     23
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 24 of 44 PageID #: 1989




Background Evidence
        We now come to the “background evidence.” The Government here relies upon evidence
that Mr. Hunt “consumed white supremacist and anti-Semitic codes, symbols, and beliefs,” and
that “these provided motive for his threats to kill Members of Congress.” Opp. 7. It further
infers from the use of the term “ZOG” that he was “conveying a seriousness of his purpose.”
Opp. 21.
        Had the background evidence consisted of actions – not political motivations – these
might potentially add to the seriousness of the conditional, indirect threat at issue. Had the
Government proof of Mr. Hunt’s interest in obtaining guns, learning how to set up a firing squad,
shoot, kill, stab or any of the other methods of violence that they claim he uttered that prove he
acted with a criminal mens rea, such evidence might have been probative, as can be seen from
another indirect threat case, United States v. Parr, 545 F.3d 491, 498 (7th Cir. 2008). There, the
Seventh Circuit considered an indirect threat made by one prison inmate to another regarding
bombing a federal building. The court found sufficient evidence to justify the verdict despite the
fact is was not made directly to a victim, by pointing to evidence of “background and context”
about the defendant Parr’s “pervasive interest in explosives and domestic terrorism, including his
long history of building pipe bombs, storing explosives, and experimenting with chemicals.”
545 F.3d at 498. The court reasoned that, while the government need not prove that the
defendant intended to carry out the threat, the jury could infer the seriousness of the threat based
on the fact that he actually had the ability to make a bomb. Id. (“A person who says he is going
to bomb a building is more likely to give the impression he is serious if he actually is serious—if
he actually plans to carry out his threat and is able to do so.”) The opposite conclusion is the
most logical to draw here based on the absence of such evidence, indeed evidence to the contrary
that Mr. Hunt was more interested in collecting vintage comic art and working on his conspiracy
theory videos, and the 475 pictures taken at his apartment the day of his arrest confirmed just
that.




                                                    24
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 25 of 44 PageID #: 1990




DX CC. So did his spending habits, and his internet habits, none of which indicated anything
more than an interest in theater, art, comics, and “explor[ing] the sometimes uncomfortable
truths of our society through art and activism.” DX KK3. The Government, which had access to
his financial records, his online purchases, his entire house, his social media, his digital devices,
including 2 computers, 7 or 8 hard drives, and two phones (not password protected), found no
communications between Mr. Hunt and anyone about the Capitol or any plans to make good on
the alleged threats. Tr. 339-334; Tr. 471-472; Tr. 943-944.
        Instead of evidence of any actual seriousness of Mr. Hunt’s posts, the Government’s
inferences deride him for being politically incorrect in that he had several memes on an external
hard drive that were ethnic jokes in exceedingly poor taste. But these had nothing to do with the
Bitchute video or the case. The Government was not interested in the hundreds of other items on
the external hard drive, or any of the other 7 drives they seized from Mr. Hunt’s house, but rather
wanted only to focus on the “offensive material” in the memes. Tr. 895, with no connection
begin made to the Bitchute video. Nor did the memes have anything to do with Members of
Congress, President Biden’s inauguration, or the Capitol. They were not on either the computer
or the phone that Mr. Hunt used to commit the alleged crime. Id. They were on back up hard
drives that contained hundreds of archived files, including videos and pictures, and they
demonstrated no pattern from which one could infer anything relevant to the Bitchute video. In
fact the opposite inference is warrant – that memes were of little consequence to him, given that
Mr. Hunt demonstrated attention to other items on the external drive in question, including a full
excel spreadsheet of his “Wish List.” That Wish List had no threatening materials on it, but
rather comic art that he wanted to buy. DX QQ; Tr. 945-946. Even that wish was the subject of
derision by the Government. Tr. 866 (Q: So you paid $311 for a Justice Society book because
you were interested in the content? A Yeah.).
         The Government’s Opposition also argues that “[i]n videos posted after the ‘Kill Your
Senators’ video, the defendant continued to express a desire for removal of Members of
Congress through violence.” Opp. at 7. The videos contain statements suggesting that Members
of Congress “need to go” and “should be scared,” but do not state a desire for them to be
removed through violence. In fact, unlike the defendant in Turner, Mr. Hunt does not suggest he
has any special knowledge to impart about the politicians or that any specific harm should befall
them, and the one image shown is of a woman following a politician at an airport and calling him
a “traitor.” As rude and inappropriate as the activity is, it is a far cry from the killing of Judge
Lefkow discussed in the blog posts in Turner.

       Inferences to Be Tested
       The probative value of the “other act” evidence, to the extent there is any, depends on
both the existence of the fact in question as well as some demonstrated permissible inference
regarding either contextual clues for “true threat” or intent required to commit the crime.
        As to the existence of a fact upon which inferences must rely, the Government's proof
falls short.
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Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 26 of 44 PageID #: 1991




        Here, the Government choice to call a “non-expert” forensic examiner who limited her
forensic analysis only to those question asked of her by the FBI and the prosecution -- is telling
about its desire to avoid inconvenient facts. The only motivation for calling a examiner with
such limited knowledge of the full forensic analysis that could be done of the computer is to give
the witness deniability if asked exculpatory questions by the defense.
        This played out on the record in the testimony of Ms. Kwasnaza, an FBI CART examiner
whose testimony was limited to only the buttons she pushed at the behest of the FBI and the
prosecution. For example, when asked for information about Mr. Hunt’s activities on his
computer and phone that might shed light on the questions of context and intent by showing an
interest in following through on threats or planning any activities or associations that might
further his supposedly criminal intent, Ms. Kwasnaza was the perfect choice for a prosecution
that wanted to avoid inconvenient facts, as shown by the following questions and answers given
during cross examination:
       Q And did the case team tag any searches on retail websites like Amazon or eBay or any
       others?
       A I don't recall if those types of searches were included in the final report.
       Q Do you recall if the agents involved in this asked you to or tagged any cookies that
       reflected website visits to stores that sold tactical gear or anything like that?
       A I don't recall.
       Q Do you recall any cookies that showed on the phone that showed access to stores or to
       any organizations that appeared to be involved in any kind of violence?
       A I don't recall.
       Q Do you recall that there was tags for anything involving travel to Washington, D.C.?
       A I don't recall.
       Q Do you recall any items that were tagged for purchases of tickets -- airplane, bus, train
       -- anything like that?
       A I don't recall those, no.
       Q And were any items tagged on the computer with respect to guns, ammunition, tactical
       gear, travel, anything like that?
       A I'm not sure.
       Q You're not -- you mean you don't recall any being tagged.
       A I don't recall the specific items that were tagged.
       Q When you were asked to testify today, did anyone ask you to look into that to see if
       there were any visits to stores that I have mentioned or purchases of those types of items?
                                                    26
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 27 of 44 PageID #: 1992




       A No, I did not conduct that sort of review.
       Q And if the agents wanted to tag something like that, they could have told you that,
       right?
       A They could have tagged it.
Tr. 472-473.
       Hunt’s Alleged “Affinity for Hitler, Antisemitism, and the Conspiracy Theory of
       “88”. Opp. 7-9.
        The Government was particularly interested in evidence that they claimed established the
defendant as a white supremacist and anti-Semite. First they claim an inference that he had a
guilty mens rea based on his visits the “Daily Stormer” website seven times over a ten month
period. GX 51. But the Government did not show the jury a single article from that legal
website that could link those visits to the Bitchute video or to threats in general in any non-
speculative way. Nor did it rebut the testimony of expert Segal that the Daily Stormer website is
not only legal to visit but contains a disclaimer eschewing hate speech or violence. Tr. 624. So,
too, must any inference about reading Mein Kamp be rejected, as it is both legal to read, is
studied by academics, and is required reading in some college class. Tr. 629.
        Next they claim that a guilty motive can be inferred from the downloading of a copy of
the Protocols of the Learned Elders of Zion, a document that was once in Mr. Hunt’s downloads
folder but had been deleted by the user of the phone -- Mr. Hunt -- months before the Bitchute
video was posted. There was no testimony that supported a reasonable, non-speculative
inference that Mr. Hunt did a single thing with the document -- other than delete it. On this
point, examiner Ms. Kwasnaza offered nothing but strategic deniability, as can be seen from the
following testimony on cross examination:
       Q Okay. So, when you look at the file path there, it's got download before the protocols
       of Learned Elders. What does that mean exactly?
       A It was in a download folder.
       Q Okay. Was that document ever moved to any other folder?
       A I don't know.
       Q Did you look to see whether that document was ever moved
       to another folder?
       A I did not.
       Q So when somebody downloads a document from a public internet site, it goes into
       automatically your download folder?


                                                      27
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 28 of 44 PageID #: 1993




       A That depends on how the web browser or device is configured, and I don't know how
       this device was configured and whether that was automatic placement.
       Q Was there any evidence that you found that this document had ever been moved out of
       the download folder?
       A I'm sorry. Can you repeat that.
       Q Was there any evidence that you found that this document had ever been moved from
       the download folder to any other folder?
       A I did not look into any of that, no.
Tr. 475-76.
        This document has no bearing at all on the “true threat” element. For that to happen there
would have been proof of some other fact -- that the document was sent to someone else,
published, posted, or used in some way that would have influenced a “reasonable person”
assessing the seriousness of the Bitchute video. Thus, the document has zero relevance to the
“true threat” question.
       As for intent, the Government claims that expert Oren Segal’s testimony is the fact
needed to draw the inference that the Protocols of the Elders of Zion is evidence of Mr. Hunt’s
criminal intent -- that is to obstruct or retaliate against Members of Congress. But Mr. Segal’s
testimony makes no such claim. Rather, his testimony was in service of the effort to put Mr.
Hunt in the same boat as the unnamed white supremacists that Mr. Segal discusses:
       The Protocols of the Elders of Zion is a booklet that was created over a hundred
       years ago that claims to was created over a hundred years ago that claims to be a
       recording, a written recording of a secret meeting of Jews as they were planning to
       find ways to manipulate and control the world. This was a very popular document
       for anti-Semites in different parts of the world, from Russia, even in the United
       States in the '30s; in Germany during the Nazi era and continues to be a piece of
       propaganda that is often cited and used by anti-Semites and White Supremacists to
       explain their world views; even though it is one of the more well-known forgeries,
       fake booklets in extremist history.
Tr. 554-55.
       The Government asked only one follow up question to this testimony:
      Q And does [the Learned Protocols of the Elders of Zion] still have significance to White
Supremacists and anti-Semites today?
       A Yes.
Tr. 555.


                                                   28
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 29 of 44 PageID #: 1994




        But that simply highlights the lack of evidence that Mr. Hunt communicated with or
identified with the whatever “anti-Semites and White Supremacists” Mr. Segal had in mind. Mr.
Segal’s testimony has probative value on the question of Mr. Hunt’s intent only if it could be
linked to those generalized beliefs of others. Lacking such a connection, there could be many
reasons one might be interested in the document, including Mr. Hunt’s First Amendment
protected views that are anti-Zionist and anti-Israeli occupation of Palestine. It would be
impermissible to confuse protected political views with criminal intent -- which is precisely what
the Government Herculian logical leaps require.
       Mr. Segal’s testimony -- speculating about the connection between Mr. Hunt and what
unnamed “White Supremacists and anti-Semites” believe by extrapolating from the short-lived
presence of this document on Mr. Hunt’s device is precisely what Pauling and Valle says cannot
happen.
       As a final point here. Given the law that a tie in the battle of inferences must go to the
Defendant, it should be noted that the inference to be drawn here by the Government -- even if
reasonable, non-speculative, and permissible, is negated by other evidence. To choose just one
item: DX OO:




                                                    29
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 30 of 44 PageID #: 1995




        Mr. Hunt testified why this and many other works by the famous comic artist Jack Kirby
were in his collection. He explained the significance of this to him, and identified it in the
pictures taken by the FBI during the search of his house.
       If you look at some of my comic collection, you'll see that I have a number of books
       by a man named Jack Kirby, also known as Jacob Kurtzberg. He's my favorite artist
       and also a creator of Captain America. And one of the things Captain America is
       famous for is fighting Nazis. The first issue of Captain America from back in 1941
       is Captain America giving a right hook to Hitler, and it's a very iconic image. And
       pretty much everything that that man, Jack Kirby, ever produced had a bit of anti-
       Nazi themes to it.. . I have five large bookshelves in my room, like the one I am
       looking at right now, that contain graphic novels, which are collections of comic
       books. And the comic book industry itself is basically built by European Jewish
       men, everybody from Superman – I assume everybody is familiar with that. That
       was created by Siegel and Shuster, who were two Jews. And I believe that
       Superman is an actual representation of the Jewish people, like an outcast of society
       in some ways. Guys like Gil Kane, who drew the Green Lantern comic for a very
       long time, he is a Jewish man. Stan Lee of Marvel Comics, you may know him
       from the movies, but his real name is Stanley Lieber, he worked closely with Jack
       Kirby many years to create the Marvel Universe. And other artists that worked on
       things like Mad Magazine, Harvey Kurtzman, Al Jaffee, all these guys, I really
       admire their work and I collect it.
Tr. 834-35.
        The Government offered no serious dispute that Mr. Hunt’s an actual for the artist Jack
Kirby. But what is most interesting about this fact is how it undermines the inferences the
Government seeks to draw about Mr. Hunt’s affinity for Nazis (whatever that means). Referring
to Jack Kirby’s iconic image of Captain America punching Hitler, Mr. Hunt testified how this
image served to galvanize America against Hitler in World War II:
       So that's the image, that you see there. And as I was saying, it was a bit shocking
       at the time because in 1941 Hitler was still a world leader. Over time, we've gotten
       used to, I think, seeing Nazis depicted in things like Indiana Jones movies where
       they're almost a cartoonish representation of evil. But this kind of cover, it was like
       if somebody drew a cover of Captain America punching out Vladimir Putin or
       something. It was shocking at the time. And from my understanding, the Marvel
       Comics offices received a few death threats and the mayor, Fiorello La Guardia,
       offered NYPD protection to that comic book company at the time.. . [So the Captain
       America series by Jack Kirby influenced the American response to the German
       actions in World War II [by] galvaniz[ing] the war effort. It showed what America
       was capable of. It showed the fighting spirit of America. And it shown a spotlight
       on something that maybe a lot of people weren't aware of, which was the tyranny
       that was going on in Germany.
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Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 31 of 44 PageID #: 1996




Tr. 837-39.
         Mr. Hunt spent his time and his money on studying and collecting art that is celebrated
for its role in turning the tide against Hitler in World War II, an inconvenient fact that disrupts
the Government’s proffered inferences that Mr. Hunt is a “Nazi” or has an “affinity for Hitler.”
       DYLANN ROOF and the Number 88
       Next the Government claims guilty motive can be inferred from the downloading of the
the manifesto of Dylann Roof, a famous mass murderer. GX 52; Tr. 901. The Roof document –
which the defendant obviously had nothing to do with creating -- contained drawings of Nazi
swastikas and symbols including the number “88,” the Government leaps to the conclusion that
Mr. Hunt deliberately made the Bitchute video 88 seconds long.
        This is absoulely wrong.. FBI Agent Smith testified that she and 16 other agents
searched Mr. Hunt’s home on January 8, 2021, took 475 picture and collected evidence, and not
a single drawing or reproduction of “88” was found. While the Government offered a private
(unpublished) video, GX 30, of an apparently drunk Mr. Hunt speaking about codes for 9/11,
“Shady Hook” (Sandy Hook), Juice (Jews), that video proves the opposite of what the
Government claims – that he deliberately made an “88” second video as code to white
supremacists. Nowhere in the so-called “code” video is there a discussion of 88. None of the
commentators said a word about 88. The only people thinking about 88 when they watched the
Bitchute video were in the Government.
       This was plain from the testimony of FBI Agent Smith, who stated on direct that the
Bitchute video was “88 seconds” long. Tr. 221 (Direct Exam: Q: Special Agent Smith, do you
know how long that video was? A 88 seconds.)
       But on cross examination the 88 turned out to be an extrapolation of math on her part:
       Q Do you see the number "88" anywhere on the BitChute video player right now?
       A Not right now.
       MS. OLIVERA: Go ahead and play that again. (Video played in open court.) (Pause in
proceedings.) (Video played in open court.)
       BY MS. OLIVERA:
       Q Now, Special Agent Smith, can you look at the video player now and tell me if you see
       the number "88" anywhere on the screen?
       A It's 1 minute, 28 seconds.
       Q My question was a little more specific. Do you see the number "88" on the video
       player right now?
       A No.

                                                     31
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 32 of 44 PageID #: 1997




       Q Did Mr. Hunt say anything about the number "88" in the video?
       A No.
       Q But the FBI has reviewed Mr. Hunt's BitChute content, correct?
       A Yes.
       Q Are there any other videos that are 1 minute and 28 seconds long?
       A Not that I'm aware of.
       Q Are there any comments or posts where Mr. Hunt references
       the number "88"?
       A Not that I've seen.
Tr. 346.
        United States v. Pauling, 924 F.3d 649, 656 (2d Cir. 2019, discussed supra, also involved
a magic number: 14. That was the number of grams of herion. hat were needed to source in the
evidence or inferences from the evidence in order to justify the drug quantity verdict. The
Pauling court rejected the government’s inferences from the “drug code” conversations between
the defendant and co-conspirator as insufficiently supportive of the inference that a prior drug
transaction involved 14 grams.
         Here, the only evidence of that the Bitchute video had some deliberate “88” message in it
is in the Government’s mind. First of all, it would have been out of character for Mr. Hunt, who
was otherwise quite the envelope pusher, to be so subtle. Secondly, the expert Mr. Segal
testified of his knowledge about the number “88” on things like banners and tattoos, but had
never heard of it being used in a video, which would mean that the unnamed “white
supremacists” about whom Mr. Segal testified would not be looking for it. Tr. 637. And as Mr.
Hunt said, the Bitchute video was unedited raw video from his phone (which the Government
would know because they seized the devices) and that if it turned out to be 1 minute and 28
seconds it was coincidence. Tr. 836. Besides, he said “I honestly don’t even think that Nazis are
smart enough to add up to and 28 to get to 88, so it would be a very, very occult reference to do
that.” Tr. 836.
       The Government next claims a guilty motive based on Mr. Hunt’s private texts with
loved ones. These have nothing to do with the Bitchute video. The texts with his father prove
only that Mr. Hunt was passionately defending his position on the 2020 election results. It
requires tortured logic to say that those texts show he idolized Hitler. He was not afraid to talk
about or try to understand Hitler, to be sure. But there is no basis for presuming an “affinity”
from that.
       The texts between Mr. Hunt and his girlfriend discuss Hitler, but their significance is in
what the Government left out of its exhibit GX 40B-C. The texts, which took place in May,
                                                    32
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 33 of 44 PageID #: 1998




2020, some eight months prior to the Bitchute video, say nothing about Mr. Hunt’s guilty state of
mind, and if anything undercut the Government’s other claims that he is racist against non-
whites in that they express empathy toward oppressed people of color who have been colonized
or occupied. The following table shows how the omission of a critical part of the conversation
renders it useless for the Government’s intended purpose:

 FROM GX 40B-C                                    FROM DX SS

 Girlfriend: What have you been up to ?           Girlfriend: What have you been up to ?

 Hunt: Reading some real books and also some Hunt: Reading some real books and also some
 comics. Working on my BitChite channel, that comics. Working on my BitChite channel, that
 sorta stuff ☺                                sorta stuff ☺

 Hunt: *BitChute                                  Hunt: *BitChute
 Hunt: Im almost caught up to where i was on      Hunt: Im almost caught up to where i was on
 youtube, and even tho i had over 500 subs        youtube, and even tho i had over 500 subs
 there, im actually getting more views doing      there, im actually getting more views doing
 things this way!                                 things this way!

 Girlfriend: Which real book?!                    Girlfriend: Which real book?!

 Girlfriend: Oh wowza honey                       Girlfriend: Oh wowza honey

 Girlfriend: Good for you                         Girlfriend: Good for you
 😃😃😃😃😃😃😃😃😃😃😃😃                                     😃😃😃😃😃😃😃😃😃😃😃😃

 Hunt: A few actually, i brought them up from     Hunt: A few actually, i brought them up from
 my basement ☺ the most interesting one so        my basement ☺ the most interesting one so
 far was Mein Kampf by Hitler. I wanted to        far was Mein Kampf by Hitler. I wanted to
 know more about why he did what he did.          know more about why he did what he did.

 Girlfriend: Didn't know he had published a       Girlfriend: Didn't know he had published a
 book... hmm interesting                          book... hmm interesting

 Hunt: I also read thru the first 10 amendments   Hunt: I also read thru the first 10 amendments
 to the constitution and some of the founding     to the constitution and some of the founding
 fathers papers... Yes Hitler's book is one of    fathers papers... Yes Hitler's book is one of
 the best selling books of all time next to the   the best selling books of all time next to the
 bible                                            bible

 Girlfriend: Now I want to read it also lol       Girlfriend: Now I want to read it also lol

 Girlfriend: Ahhh the Bill of Rights 😌😌           Girlfriend: Ahhh the Bill of Rights 😌😌

                                                   33
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 34 of 44 PageID #: 1999




 Hunt: Its hard to get now! They just banned it      Hunt: Its hard to get now! They just banned it
 from amazon and audio book spots like               from amazon and audio book spots like
 audible. Which is weird because a big               audible. Which is weird because a big
 criticism of hitler is that he organized book       criticism of hitler is that he organized book
 burnings of commie propaganda, so this is           burnings of commie propaganda, so this is
 sort of like digital book burning in my view        sort of like digital book burning in my view

 Girlfriend: Oh, goodness that's silly!              Girlfriend: Oh, goodness that's silly!

 Hunt: Yes the bill of rights is pretty simple       Hunt: Yes the bill of rights is pretty simple
 but then the amendments after get really long       but then the amendments after get really long
 lol.                                                lol.

 Girlfriend: Tsk tsk .. tolerance people, have       Girlfriend: Tsk tsk .. tolerance people, have
 more tolerance and be less hypocritical             more tolerance and be less hypocritical

 Girlfriend: Hahahhaha yes, they do                  Girlfriend: Hahahhaha yes, they do

 Hunt: The hitler book gets interesting when he      Hunt: The hitler book gets interesting when he
 starts talking about the leftists and Jews that     starts talking about the leftists and Jews that
 he felt were ruining Germany and Austria by         he felt were ruining Germany and Austria by
 promoting Marxist literature and producing          promoting Marxist literature and producing
 books and plays that had too much sex and           books and plays that had too much sex and
 drugs etc in them.                                  drugs etc in them.

 Hunt: The same could be said of todays              Hunt: The same could be said of todays
 leftists, but obviously hitler took this in the     leftists, but obviously hitler took this in the
 way wrong direction                                 way wrong direction

 Hunt: History books are written by the              Hunt: History books are written by the
 winners not the losers                              winners not the losers

 Girlfriend: well, that statement is too strong      Girlfriend: well, that statement is too strong
 I'd say.. losers will tell their stories also but   I'd say.. losers will tell their stories also but
 may not sell as much as the winners                 may not sell as much as the winners

 Hunt: The losers are all dead tho                   Hunt: The losers are all dead tho

 Girlfriend: Well, today they may be. But not        Girlfriend: Well, today they may be. But not
 all losers die during times like that - some        all losers die during times like that - some
 escape as was the case for many Jewish who          escape as was the case for many Jewish who
 went abroad, etc.                                   went abroad, etc.

 Hunt: The jews won tho. Thats why they get          Hunt: The jews won tho. Thats why they get
                                                      34
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 35 of 44 PageID #: 2000




 to decide what goes in history books, and that   to decide what goes in history books, and that
 hitlers books get banned.                        hitlers books get banned.

 Girlfriend: And some who participate on the      Girlfriend: And some who participate on the
 winners side, where the side is deemed to be     winners side, where the side is deemed to be
 evil, they may live to regret what they          evil, they may live to regret what they
 experienced and write a book about the truth     experienced and write a book about the truth
 of what took place                               of what took place

 Girlfriend: Ahhhhhhh I see what you mean         Girlfriend: Ahhhhhhh I see what you mean

 Girlfriend: Yeah, yeah                           Girlfriend: Yeah, yeah

 Girlfriend: But i think it still applied         Girlfriend: But i think it still applied

 Girlfriend: Applied*                             Girlfriend: Applied*

 Girlfriend: Applies* but in that case, what      Girlfriend: Applies* but in that case, what
 they say or write about may not be given         they say or write about may not be given
 much credit or it could                          much credit or it could

 Hunt: Thats why there are no nazi history        Hunt: Thats why there are no nazi history
 books in our schools. They lost. They will       books in our schools. They lost. They will
 never be given any credit and our books and      never be given any credit and our books and
 media always depict german nazis as awful        media always depict german nazis as awful
 inhuman monsters. If one was to suggest          inhuman monsters. If one was to suggest
 otherwise, they themselves would be labeled      otherwise, they themselves would be labeled
 nazi and ostracized                              nazi and ostracized



 Government Omits From GX 40 portion of           Hunt: Same thing with Saddam Hussein for
 text                                             example. You will never see a history book
                                                  with Saddam's side of the story. Or Osama bib
                                                  laden. History books are written by the
                                                  winners.

                                                  Hunt: Same thing with the Native American
                                                  genocide. You will never see an accurate
                                                  portrayal in a history book of the brutality the
                                                  settlers inflicted upon them. It will always be
                                                  slanted towards pro America stuff

                                                  Girlfriend: Really? I beg to differ. I think we
                                                  often do realize how brutal Americans were
                                                   35
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 36 of 44 PageID #: 2001




                                        towards the Natives

                                        Girlfriend: As for the two you mentioned
                                        previously, I wouldn't know but I suspect
                                        you're right

                                        Hunt: Then why are settlers not regarded in
                                        the same way as Nazis? What they did was on
                                        par if not worse than Nazi Germany.

                                        Hunt: *on par if not worse

                                        Girlfriend: I see your point. But I'd say that
                                        because we (obviously not people like myself,
                                        or other minorities) directly belong to that
                                        lineage of people (the settlers) then it's easier
                                        to be more forgiving

                                        Girlfriend: Not forgiving but ignore it. Put it
                                        under the rug

                                        Girlfriend: But I do see Americans today
                                        show a lot of compassion and trying to
                                        ameliorate the effects of it today

                                        Girlfriend: There are laws that gives
                                        descendants of Natives land etc

                                        Girlfriend: Then there is slavery too

                                        Girlfriend: We're still trying to make up to
                                        African Americans because of the past

                                        Hunt: For example, when was the last time
                                        you saw a history book from the Aztecs?
                                        Their empire was utterly destroyed, millions
                                        of people just wiped out, centuries of culture
                                        gone. But we dont give that the same
                                        significance as say the holocaust.

                                        Girlfriend: But i know that in this case,
                                        African Americans "won" in that slavery was
                                        abolished so we get to read and learn about
                                        the "winners"

                                         36
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 37 of 44 PageID #: 2002




                                                    Girlfriend: Perhaps because the Holocaust
                                                    happened more "recently"

                                                    Girlfriend: The LSAT included tons of articles
                                                    about the Aztecs actually lol

                                                    Hunt: How many black people were murdered
                                                    by whites and kkk during the years of ww2?
                                                    ldk but it might be just as bad.

                                                    Girlfriend: That was the last time I read about
                                                    it but dont ask me for details because it's been
                                                    a while now ....


        Taken in its entirety, the conversation is a classic political discussion unworthy of the
absurd inference that the Government seeks, and serves to underscore why permitting the
Government to judge private political discussions like this is so very dangerous.
       Hunt’s View on Government Sponsored Zionism, Opp. 9 (GX26)
         The use of Mr. Hunt’s political stance on Zionism as evidence of a crime is particularly
incompatible with the breathing room expected under the First Amendment. Conflating
evidence of protected political opinion with criminal intent is impermissible, and as a matter of
law should not be permitted to establish the a criminal mens rea element for § 115(a)(1)(B). For
example, the government claims that Mr. Hunt “conveyed the seriousness of his purpose” by
saying Congress is a “ZOG government.” Opp. 23. But they provide no reason why this
description suggests Mr. Hunt was serious about frightening Members of Congress. Use of the
term ZOG is a statement of political opinion, and that by definition is not a threat. is a statement
of his political view not an instrumentality of a threat. Indeed, the facts at trial did not establish
that anyone who uses the term “ZOG government” is more likely to intend to frighten or retaliate
against Members of Congress. Expert witness Oren Segal testified that being anti-Zionism is a
legitimate political point of view held by some who think that Israel should not be occupying
Palestinian territory. Tr. 621. He acknowledged the existence of entire organizations devoted to
that cause, such as Jewish Voice of Peace and BDS (Boycott, Divestment, Sanctions), with the
latter organization’s political advocacy is precisely that encompassed by the term ZOG – to
advocate for th elimination of Zionist interests from American foreign policy. Tr.658-660.
Hunt’s View on Illegal Immigration. Opp. 7.
        The Government also claims a reasonable inference to be drawn from its cherry picked
version of Mr. Hunt’s private conversations with his father on the topic of immigration. This is a
red herring and has no relevance at all to the crime charged. It is no secret that many people
think illegal immigrants, especially those who commit crimes should be rounded up and
deported, including the Department of Justice:
                                                     37
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 38 of 44 PageID #: 2003




        The chain of inferences the Government seeks to draw against Mr. Hunt could just as
easily be drawn against the Department of Justice, which eagerly rounds up and deports illegal
immigrants and is especially punitive against those illegal aliens who commit crimes. See, e.g.
Brookings Institute, “US Immigration Policy a Classic Underappreciated Example of Structural
Racism,” Published March 26, 2021.2
        Ever the equal-opportunity cynic, Mr. Hunt was quick to point out this very hypocrisy, as
he did in November 4, 2021 Facebook post in which he opined
       Biden voters have acted horribly by tearing apart their own families bc they label us
       fascist, racist monsters. They have tried to get us fired for being Trump voters. They have
       filled their heads for years with communist propaganda from CNN, MSNBC, etc going
       back thru the Obama admin. They even try to stop us from protecting our own borders,
       spreading bs about kids in cages when it was obama who built those things. The
       democrats burn down our cities and make up lies about the police to foment disorder and
       even deadly conflict.
GX 150B.
        Just as Mr. Hunt said in November of 2020, the immigration policies in this country
began under Democratic leaders, and, with all due respect to President Obama, he has been one


       2
         https://www.brookings.edu/blog/how-we-rise/2021/03/26/us-immigration-policy-a-
classic-unappreciated-example-of-structural-racism/
                                                  38
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 39 of 44 PageID #: 2004




of the worst offenders. See, generally, “Yes Obama Deported More People than Trump, But
Context is Everything, CNN, July, 2019.3 Context is everything in the evaluation of these
inferences, and the one the Government seeks to draw about Mr. Hunt ignores the inconvenient
fact that being anti-immigration and anti-criminal does not make one racist, and saying it is so
defeats the entire purpose of open national debate of these core political topics.
       Consider the following colloquy between prosecution and Mr. Segal:
       BY MR. RICHARDSON:
       Q Now, just talking generally about what white supremacy, what white supremacists
       believe, is there a feature of modern white supremacy in this country that relates to
       immigration?
       A So, yes. White supremacists believe that their race is on the verge of extinction, that
       the white race is in peril, it will not exist in several years, primarily because immigration
       from nonwhite countries, because of immigration from, you know, Muslim countries,
       because of the demographic changes in this country, what they sometimes, people refer to
       as the browning of America.
Tr. 540.
         Mr. Hunt’s views on immigration say nothing about either “true threat” or intent, unless it
could be equally inferred, from the “browning of America” that the United States Government is
just, if not more, racist than they accuse Mr. Hunt of being. The deeds, if not the words, support
that inference.
         Probed about his immigration views, Mr. Hunt described a classic conservative approach
to the issue:
       Q Do you remember writing "previous generations were right to be suspicious of
       immigrants"?
       A I believe I singled out the Irish in that text.
       Q You write that "crime rates have soared among second generation immigrants,"
       correct?
       A Yes.
       Q You wrote that "immigrants are taking our jobs, our                 benefits, our birthright, and
       our culture"?
       A Yes. I do believe that mass illegal immigration is a big problem. You can't have open
       borders and a welfare state.



       3
           https://www.cnn.com/2019/07/13/politics/obama-trump-deportations-illegal-immigration/index.html
                                                          39
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 40 of 44 PageID #: 2005




       Q You meant white jobs, white jobs, white birthright, right?
       A No. I meant Americans, American citizens. Illegal immigration affects more than just
       white people. It affects black people. If you have a bunch of immigrants from South
       America come in, it affects the jobs of black people who are now competing with that.
Tr. 877.
        Mr. Hunt deported no one. He rounded no one up at the border. He committed no crimes
against immigrants. He stated his point of view, one apparently held by at least half of the
country, assuming that Trump’s immigration policies appealed to those who voted for him.
Nowhere in the Bitchute video did Mr. Hunt make any threats related to immigration. His words
targeted no Members Congress particularly (and the only public official named was the white
and American-born Joe Biden), and not a single video he made of the many the Government
offered contained a reference to targeting immigrants or immigrant Members of Congress. The
references in acquitted threats and “other act” evidence to AOC, Pelosi, and Schumer leads to an
opposite inference than the Government would have a reasonable juror draw - that is that Mr.
Hunt was an equal opportunity critic, and his political position on anti-illegal immigration cannot
prove criminal mens rea.
       Dylann Roof Manifesto
        The Government’s cognitive bias is also evident on the Dylann Roof Manifesto, which
was a lot of smoke but no substance. To begin with, the FBI examiner Kwasnaza, despite having
had the digital evidence for 3 months was not asked by agents or prosecutors to determine if
there was evidence that Mr. Hunt interacted with (opened, downloaded) the document for more
than 3 seconds:
       BY MS. ROSTAL:
       Q Have you done any analysis that would indicate to the jury that there was any user
       touching of this document after 11-6-2020?
       A I did not do that type of analysis.
       Q Nobody asked you to see whether this document was opened after 11-6-2020 at 5:48
       and 33 seconds?
       A No.
       []
       Q Would you be able to go back to the analysis of this computer to see whether this
       document was opened up after 11-6-2020 at 5:48 and 33 seconds?
       A There are certain locations within a forensic environment that you can go to see
       evidence of file openings; but I do not recall if for this specific file that type of


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Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 41 of 44 PageID #: 2006




      information would be available, because I never started that type of analysis on this
      particular item.
      Q And Agent Dobin never asked you to do that?
      A Correct.
      Q And none of the other agents asked you to do that?
      A Correct.
      Q So, according to what analysis you have run, this document was possibly downloaded -
      - would you agree that's a possibility -- at 5:48:30 seconds?
      A It was -- the file was downloaded, yes.
      Q The file was downloaded at 5:48:30 seconds. Would you agree with that?
      A Yes. I don't know if that 5:30 was the time the download was completed or the time it
      was initiated. I'm not sure. But the file was downloaded.
      Q And is it possible that the file began downloading at 30 seconds and completed
      downloading at 33 seconds?
      THE COURT: Based on the record.
      THE WITNESS: It's possible but I would need to do -- I would need to look into that
      further to confirm.
      Q And as you sit here today, you have been on this case since January of 2021, right?
      A Yes.
      Q And you've met with [case agent] Agent Dobin in connection with this investigation,
      right?
      A: Yes.
      Q And you have emailed with her a number of times, correct?
      A Correct.
      Q You met with her. The two of you have sat down at this computer together, right?
      A Yes.
      Q And you have emailed with her a number of times, correct?
      A Correct.
      Q You met with her. The two of you have sat down at this computer together, right?
      A Correct.
                                                  41
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 42 of 44 PageID #: 2007




       Q There are other agents who have worked with you to find out about the results of your
       analysis, correct?
       A I discussed the portions that I reviewed with them, yes.
       Q And in preparation for your testimony here, did you meet with the United States
       Attorneys, Mr. Richardson, Mr. Kessler --
       A Yes, I did.
       Q -- Mr. Navarro? How many times?
       A A couple of times. I don't recall specifically the number. A couple of phone calls and
       in-person meetings.
       Q So would you say that there were two or three in-person meetings?
       A At least two in-person meetings before today.
       Q Did they come to the lab?
       A I met with them in Special Agent Dobin's squad space, and I met with them at the
       attorney's office yesterday.
       Q And would you say Special Agent Dobin's squad space, that's at the FBI field office in
       New York?
       A Correct.
Tr. 483-484.
         FBI Case Agent Dobin and Ms. Kwasnaza worked on the case together since January of
2021, and in the same physical space of the FBI NY Field Office. There was ample opportunity
and indeed discussion among them to analyze the forensic data to determine if there was
evidence of Windows user interactions with the Dylann Roof manifesto that made the required
logical connection between the document and the intent required for the crime. The testimony
showed that Ms. Kwasnaza and Special Agent Dobin, the case agent, had actually discussed the
question of the 3-second interaction of Mr. Hunt with the Dylann Roof document well before
trial started, Tr. 486. It is fair to draw the inference -- given the Government’s burden of proof --
that no such evidence existed.
        But let us assume, for purposes of following the inferential logic here urged by the
Government, that even if the “3 second rule” applies to documents and dropped food alike, the
Roof document adds nothing to the narrow intent question here: whether there was proof beyond
a reasonable doubt that Mr. Hunt acted with the intent to impede, intimidate, or interfere with the
officials while they were engaged in the performance of their official duties, or with the intent to
retaliate against the officials on account of the performance of their official duties. The Roof
document was legal and Mr. Hunt obtained it from the FBI website and never looked at it again.
Tr. 901. There was no connection drawn between the Roof document and the Bitchute video at
                                                      42
Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 43 of 44 PageID #: 2008




all, and the connection between Roof’s drawings and a 1 minute and 28 second video is pure
speculation. As with the Protocols of Zion document, the Roof document has relevance only if
there is proof of another fact -- that the document was used, shared, or organized -- anything --
that might be used to connect the dots between the Roof document and the intent needed for the
Bitchute video.
Conclusion
          The Government’s Opposition is emblematic of its approach to this case since the FBI
first opened the case on January 8, 2021 and began planning a high profile takedown of Brendan
Hunt. Their “shoot first and don’t let anyone ask questions later” approach to the FBI
investigation, the press release ready criminal charge, the curated witness list designed to prevent
meaningful cross examination, the hunger for detention and now apparently lengthy prison time.
It is all reminiscent of a prosecutorial zeal that, not so long ago, was reserved for the War on
Drugs. Most reasonable people now see how the Drug War produced decades of mass
incarceration and destabilization of entire demographics of people – mostly Black and Brown.
What will the War on Speech cost?
        First Amendment scholars, like Former American Civil Liberties Union president (1991
to 2008), Nadine Strossen, have argued that it is ‘counterspeech’ (or shaming) in the marketplace
of ideas, not speech repression, that is best calculated to address hate speech. See, e.g., N.
Strossen, Nadine, Counterspeech in Response to Changing Notions of Free Speech, 43 Hum. Rts.
18 (2018). “Counterspeech” admittedly seems a somewhat dangerous concept, especially to
those politicians and celebrities who routinely feel its wrath. There are myriad examples of
speech triggering actual emotional harm, such as Prince Harry, Duke of Sussex (or former Duke
of Sussex), who recently used a podcast to say that he thought our First Amendment was
“bonkers.”4 Prince Harry’s criticism of the First Amendment has some support in our law, but it
is the dissenting -- not precedential -- view. See, e.g. Terminiello v. City of Chicago, 337 U.S. 1
(1949) (“There is danger that, if the Court does not temper its doctrinaire logic with a little
practical wisdom, it will convert the constitutional Bill of Rights into a suicide pact.”) (Justice
Jackson, dissenting). When one remembers that Prince Henry dressed up as Hitler for a costume
party in his past,5 it might be asked whether the “counterspeech” he experienced for that act was
precisely what he needed to move him forward on his political journey toward a more “woke”
world view.




        4
           https://pagesix.com/2021/05/16/prince-harry-takes-heat-for-calling-first-amendment-bonkers/
5
  https://www.news.com.au/entertainment/celebrity-life/royals/photo-of-prince-harry-dressed-in-nazi-costume-
reveals-royal-double-standard/news-story/ef09414cb22d6862485d82d28a8a4977

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Case 1:21-cr-00086-PKC Document 109 Filed 06/12/21 Page 44 of 44 PageID #: 2009




        For all the reasons stated herein, we respectfully submit that the Government’s evidence
is insufficient as a matter of law and seek the Court’s entry of a Judgment of Acquittal.
                                                    Respectfully Submitted,
                                                           /s/
                                                    Jan Rostal, Esq.
                                                    Leticia Olivera, Esq


       Cc: Counsel Of Record




                                                   44
